      Case 4:98-cr-00089 Document 324 Filed on 11/06/08 in TXSD Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §   CRIMINAL NO. H-98-89-2
                                              §
                                              §
                                              §
DIEGO FERNANDO CALERO                         §

                                       ORDER

       Defendant Diego Calero filed an unopposed motion for continuance of the sentencing

hearing, (Docket Entry No. 323). The motion for continuance is GRANTED. The sentencing

is reset to February 4, 2009, at 9:00 a.m.

             SIGNED on November 6, 2008, at Houston, Texas.


                                             ______________________________________
                                                        Lee H. Rosenthal
                                                   United States District Judge
